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              IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                      GREENVILLE DIVISON
                       Civil Action No. 4:24-cv-00051-M-RN

CYNTHIA B. AVENS,                                )
                                                 )
                     Plaintiff,                  )
         v.
                                                 )
FARIS C. DIXON, JR., District Attorney;          )
VIDENT/ECU HEALTH MEDICAL                                     ORDER
                                                 )
CENTER DR. KAREN KELLY, Medical
Examiner; JOHN/JANE DOE;                         )
JOHN/JANE DOE; JOHN/JANE DOE,                    )

                      Defendants.                )


      This matter is before the court on Defendants’ Renewed Motion to Stay

Discovery, filed July 22, 2024 (DE 54). Defendants have each moved to dismiss

Plaintiff’s amended complaint asserting, inter alia, lack of subject matter

jurisdiction and failure to state claim. They request that the court “continue

the deadline for the Rule 26(f) conference and . . . postpone entry of a

Scheduling Order pursuant to Rule 16(b) of the Federal Rules of Civil

Procedure, as well as initial disclosures and discovery” until after the court’s

ruling on Defendants’ motions to dismiss. Plaintiff has not responded to

Defendants’ motion to stay, and the time for doing so has expired. 1

      For good cause shown, the court GRANTS Defendants’ motion (DE 54)



1 Defendants represent that Plaintiff opposes the motion to stay.




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and STAYS discovery in this matter pending resolution of the motions to

dismiss Plaintiff’s amended complaint filed by Defendants. A Case

Management Order setting forth discovery deadlines and pretrial procedures

will be entered upon the court’s disposition of Defendants’ motions to dismiss,

if appropriate. Within twenty-one (21) days after the court’s ruling on the

motions, the parties shall confer and submit a Rule 26(f) report and discovery

plan for the court’s consideration.

      This the ____ day of _____ 2024.




                                             __________________________________
                                                     ROBERT T. NUMBERS, II
                                                 United States Magistrate Judge




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